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UNITED STATES DISTRICT COURT FOR THE
SOUTHERN DISTRICT OF FLORIDA
Miami Division
Case Number: 10-24155-CIV-MARTINEZ-BROWN
JAMIE CASEY,
Plaintiff,

VS.

THE CITY OF MIAMI BEACH, CARLOS
NORIEGA, and EDUARDO MACIAS,

Defendants.
/

 

ORDER GRANTING PLAINTIFF'S MOTION TO DROP PARTY
THIS CAUSE came before the Court upon Plaintiffs Agreed Motion to Drop Party and to
Direct Clerk to Amend Style of Case (D.E. No. 21). After careful consideration, it is hereby:
ORDERED AND ADJUDGED that
Plaintiff's Agreed Motion to Drop Party and to Direct Clerk to Amend Style of Case (D.E.
No. 21) is GRANTED. Defendant Carlos Noriega is DISMISSED without prejudice.

DONE AND ORDERED in Chambers at Miami, Florida, this Le day of February, 2011.

JOSE/E. MARTINEZ ©
UNIWED STATES vised CT JUDGE
Copies provided to:

Magistrate Judge Brown
All Counsel of Record
